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                       UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                               VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, et al.                     )
                                           )
                        Plaintiffs         )
      v.                                   )   No. 6:23-cv-00007
                                          )
DEPARTMENT OF HOMELAND                    )
SECURTY, et al.                            )
                                          )
                        Defendants.       )
__________________________________________)

                  NOTICE OF FILING OF ADMINISTRATIVE RECORD

       Defendants hereby provide notice that they are filing the administrative record for

Implementation of Changes to the Parole Process for Venezuelans, 88 Fed. Reg. 1,279 (Jan. 9,

2023). With this notice, Defendants also attach (1) the certification of each administrative record

in this action; and (2) the index of the contents of each administrative record; and (3) the

administrative record for the Venezuelan Parole Process. See Attachments.

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Dated: March 24, 2023               Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I hereby certify that on March 24, 2023, I electronically filed this brief with the Clerk of

the Court for the United States District Court for the Southern District of Texas by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                             /s/ Erez Reuveni
                                             EREZ REUVENI
                                             U.S. Department of Justice




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